Case 3:18-cv-00840-GPC-BGS Document 362 Filed 04/23/21 PageID.8742 Page 1 of 4



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   9   Counsel for the Stores
  10                                         Counsel for Outlaw Laboratory, LP,
                                             Michael Wear and Shawn Lynch
  11

  12                       UNITED STATES DISTRICT COURT
  13                     SOUTHERN DISTRICT OF CALIFORNIA
  14

  15   IN RE: OUTLAW LABORATORY,             Case No. 3:18-cv-840-GPC-BGS
       LP LITIGATION
  16
                                             JOINT NOTICE OF SETTLEMENT
  17                                         OF THE STORES’ CLAIMS
                                             AGAINST OUTLAW
  18                                         LABORATORY, MICHAEL WEAR,
                                             AND SHAWN LYNCH, AND
  19                                         MOTION TO DISMISS SAME
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                                                 NOTICE OF SETTLEMENT; MOT. TO DISMISS
                                                             CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 362 Filed 04/23/21 PageID.8743 Page 2 of 4



   1         Counterclaimant Roma Mikha, Inc. and third-party plaintiffs NMRM, Inc.
   2   and Skyline Market, Inc. (together, the “Stores”) and Outlaw Laboratory, Michael
   3   Wear and Shawn Lynch (together “Outlaw”) hereby jointly notify the Court that
   4   they have reached a settlement of the Stores’ claims against Outlaw, and the Stores
   5   accordingly move to dismiss with prejudice their claims against Outlaw.
   6         Pursuant to the Court’s March 30, 2021 “Order: (1) Approving the Proposed
   7   Dismissal of Action Between the Stores and Outlaw Defendants, and Permitting the
   8   Settling Parties to File a New Joint Motion” (ECF No. 361), the Stores and Outlaw
   9   hereby jointly move for dismissal with prejudice of the Stores’ claims against
  10   Outlaw.
  11         In addition, the Stores and Outlaw accompany this filing with an updated
  12   version of their settlement, which (1) removes reference to the stipulated injunction
  13   that the Court declined to enter, and (2) removes the word “represent” from section
  14   I.9, which—as the Stores’ counsel explained at the March 12, 2021 hearing—had
  15   been included only inadvertently by both sides. See Exhibit A.
  16         Accordingly, the Stores and Outlaw jointly move the Court to enter the
  17   accompanying proposed order dismissing with prejudice all claims that the Stores
  18   have brought or could have brought against Outlaw in this litigation.
  19         The Stores’ claims against Tauler Smith, LLP remain pending.
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  22     Dated: April 23, 2021                  GAW | POE LLP
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  24                                            By:   s/ Mark Poe
                                                      Mark Poe
  25                                                  Counsel for the Stores
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                                                       NOTICE OF SETTLEMENT; MOT. TO DISMISS
                                                1                  CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 362 Filed 04/23/21 PageID.8744 Page 3 of 4



   1                                      THE REAGAN LAW FIRM
         Dated: April 23, 2021
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                                          By: /s/ Sean Reagan
   3                                         Sean M. Reagan
   4                                          Counsel for Outlaw, Mr. Lynch,
                                             Mr. Wear
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                                                NOTICE OF SETTLEMENT; MOT. TO DISMISS
                                            2               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 362 Filed 04/23/21 PageID.8745 Page 4 of 4



   1                            CERTIFICATE OF SERVICE
   2                            Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on April 23, 2021, I filed the following
   4   documents with the Clerk of the Court using CM/ECF. I also certify that the
   5   foregoing document is being served this day either by Notice of Electronic Filing
   6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
   7   service.
   8
         JOINT NOTICE OF SETTLEMENT OF THE STORES’ CLAIMS
   9     AGAINST OUTLAW LABORATORY, MICHAEL WEAR, AND
  10     SHAWN LYNCH, AND MOTION TO DISMISS SAME
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                                                     GAW | POE LLP
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                                                     By:   s/ Mark Poe
  16                                                       Mark Poe
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